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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

PROGRESSIVE PLAN ADMINISTRATORS, lNC.,
and USI INSURANCE SERVICES LLC, Case No.
08 Civ. 2488 (AKH)(KNF)
Plaintiffs,

v. ECF CASE
WILLIAM J. HUEBER, KlNLOCH HOLDINGS, INC., NOTICE OF MOTION
GENATT ASSOCIATES, INC., and KINLGCH
CONSULT]NG GROUP, ]NC.,

Defendants.

 

X

PLEASE TAKE NOTICE that, upon the annexed Affidavit of Blair C. Fensterstock, sworn
to on April 14, 2008, and upon the exhibits attached thereto, the accompanying Memorandum of
LaW in support of this motion, and the pleadings herein, Defendants Kinloch Holdings, lnc., Genatt
Associates Inc., and Kinloch Consulting Group, lnc. (“Moving Defendants”), Will move this Court,
before the Honorable Alvin K. Hellerstein, United States District Judge, on May 14, 2008, at 10:00
am, for an Order pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure dismissing the

Complaint as against the Moving Defendants.

Dated: NeW York, NeW York FENSTERSTOCK & PARTNERS LLP

April 14, 2008
By: alan @§\~)MD><X

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